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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


ALICIA VELÁZQUEZ-VÉLEZ et al.,

        Plaintiffs,

                   v.                           Civil No. 15-1126 (FAB)

CARLOS MOLINA-RODRÍGUEZ,
et al.,

        Defendants.


                               OPINION AND ORDER

BESOSA, District Judge.

      Defendants      Municipality      of    Arecibo   (“Arecibo”),       Carlos

Molina-Rodríguez (“Molina”), Wesley Rivera (“Rivera”), Edgardo

Pérez-Pérez (“Pérez”), Hiram Cruz-González, Luis Cruz-Nieves, and

Janet Rodríguez-Colón (“Rodríguez”) (collectively, “defendants”),

in   their    official   and    personal      capacities,   move    for   summary

judgment pursuant to Federal Rule of Civil Procedure 56 (“Rule

56”).    (Docket Nos. 111 and 112.)          For the reasons set forth below,

the defendants’ motion for summary judgment is DENIED IN PART and

GRANTED IN PART.

I.    Background

      This     litigation      arises   from     allegations       of   political

discrimination.      (Docket No. 102.)        The following facts are deemed

admitted by both parties pursuant to Local Rule 56.            Loc. R. 56(e);
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P.R. Am. Ins. Co. v. Rivera-Vázquez, 603 F.3d 125, 130-31 (1st

Cir. 2010) (citing Loc. R. 56(e)). 1

      Molina     won   the   2012     mayoral   election   in    Arecibo    as   the

candidate    for   the   Partido       Nuevo    Progresista     (“PNP”).    (Docket

No. 111, Ex. 30 at p. 5.) 2           When Molina assumed office, plaintiffs

Alicia Velázquez-Vélez (“Velázquez”), Emma Vélez-Serrano, Johanna

Homs-Zeno (“Homs”), Luís Ocaña-Rivera (“Ocaña”), María Rivera-

Román,    Saúl   Vélez-Rodríguez,        Héctor    Román-Ortiz,     Edwin   Denis-

Mercado     (“Denis”),       Santos    Tobi-Molina    (“Tobi”),     and     Julissa

Marrero-Román (“Marrero”) (collectively, “plaintiffs”) worked as

transitory municipal employees pursuant to annual and semi-annual




1Local Rule 56 governs the factual assertions made by the parties in the context
of summary judgment. Loc. R. 56; Hernández v. Philip Morris USA, Inc., 486
F.3d 1, 7 (1st Cir. 2007).     The Rule “relieve[s] the district court of any
responsibility to ferret through the record to discern whether any material
fact is genuinely in dispute.” CMI Capital Market Inv. v. González-Toro, 520
F.3d 58, 62 (1st Cir. 2008). The movant must submit factual assertions in “a
separate, short, and concise statement of material facts, set forth in numbered
paragraphs.” Loc. Rule 56(b). The non-movant must “admit, deny, or qualify
the facts supporting the motion for summary judgment by reference to each
numbered paragraph of the moving party’s statement of facts.” Loc. R. 56(c).
The movant may reply and admit, deny, or qualify the opponent’s newly-stated
facts in a separate statement and by reference to each numbered paragraph. Loc.
Rule 56(d). Facts that are properly supported “shall be deemed admitted unless
properly controverted.” Loc. R. 56(e); P.R. Am. Ins. Co., 603 F.3d 125, 130
(1st Cir. 2010).

2 The Partido Nuevo Progresista (“PNP”) and the Partido Popular Democrático

(“PPD”) are referred to in English as the New Progressive Party (“NPP”) and the
Popular Democratic Party (“PDP”), respectively. The Court adopts the Spanish
names and acronyms for the relevant political parties.
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employment contracts. 3        With the exception of Velázquez, every

plaintiff claims to be affiliated with the PPD. 4                   Velázquez,

however, maintains that “[t]here’s a presumption she’s a member of

the [PPD] because her husband is a member of the [PPD].”                (Docket

No. 111, Ex. 6 at p. 17.)

      During Molina’s tenure as mayor, the plaintiffs’ transitory

employment contracts were not renewed.           (Docket No. 112 at p. 3.)

On February 13, 2015, plaintiffs commenced this civil action,

contending    that    “the   adverse    employment     actions    executed    by

Defendants were motivated by Plaintiffs’ political affiliation.”

(Docket No. 1 at p. 4.)         The third amended complaint sets forth

three causes of action pursuant to:            (1) 42 U.S.C. section 1983

(“section 1983”) for an alleged violation of the First Amendment,

(2) sections 1, 2, 4, 6, and 7 of Article II of the Puerto Rico

Constitution, and (3) Articles 1802 and 1803 of the Puerto Rico

Civil Code, Laws of P.R. Ann. tit. 31, §§ 5141, 5142.                    Id. at

pp. 55—57.     On July 2, 2018, the defendants moved for summary

judgment as to all claims set forth by the plaintiffs.                  (Docket




3 See Docket No. 111; Román, Ex. 1 at p. 4; Ortiz, Ex. 4 at p. 4; Velázquez,
Ex. 6 at p. 5; Rodríguez, Ex. 9 at p. 7; Tobi, Ex. 11 at pp. 7—8; Vélez, Ex. 14
at p. 4; Homs, Ex. 16 at p. 3; Ocaña, Ex. 19 at p. 3; Denis, Ex. 21 at p. 7;
Marrero, Ex. 23 at p. 6.

4See Docket No. 111; Román, Ex. 1 at pp. 10-11; Ortiz, Ex. 4 at p. 12; Rodríguez,
Ex. 9 at p. 10; Tobi, Ex. 12 at p. 14; Vélez, Ex. 14 at p. 9; Homs, Ex. 18 at
p. 12; Ocaña, Ex. 19 at p. 14; Denis, Ex. 21 at p. 13; Marrero, Ex. 23 at p. 15.
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Nos. 111 and 112.)     The plaintiffs opposed summary judgment, and

the defendants replied.     (Docket Nos. 125 and 131.)      Subsequently,

the plaintiffs filed a surreply with leave from the Court. (Docket

No. 139.)     The parties concur that the claims against Edgardo

Pérez-Pérez are meritless.        (Docket No. 112 at p. 38; Docket

No. 125 at p. 2.)     Accordingly, the Court GRANTS the defendants’

motion for summary judgment regarding the claims asserted against

Pérez.    (Docket Nos. 111 and 112.)    On November 1, 2016, plaintiff

Ángel Oquendo-Maldonado (“Oquendo”) moved to dismiss his claims

against the defendants.        (Docket No. 50.)        The Court GRANTS

Oquendo’s motion, and will enter a partial judgment reflecting the

dismissal of Oquendo’s claims against the defendants.

II.   Jurisdiction

      Jurisdiction exists in this civil action pursuant to 28 U.S.C.

section 1331, because plaintiffs seek relief pursuant to 42 U.S.C.

section 1983 (“section 1983”), a federal statute.              28 U.S.C.

§ 1331.

III. Summary Judgment Standard

      A court will grant summary judgment if “there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.”      Fed. R. Civ. P. 56(a).      “A dispute

is genuine if the evidence about the fact is such that a reasonable

jury could resolve the point in favor of the non-moving party.          A
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fact is material if it has the potential of determining the outcome

of the litigation.”      Dunn v. Trs. of Bos. Univ., 761 F.3d 63, 68

(1st Cir. 2014) (internal citation omitted).

      The role of summary judgment is to “pierce the boilerplate of

the pleadings and assay the parties’ proof in order to determine

whether trial is actually required.”           Tobin v. Fed. Exp. Corp.,

775 F.3d 448, 450 (1st Cir. 2014) (internal citation omitted).

The party moving for summary judgment shoulders the initial burden

of “demonstrat[ing] the absence of a genuine issue of material

fact” with definite and competent evidence.             Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986).             Once a properly supported

motion has been presented, the burden shifts to the nonmovant “to

demonstrate that a trier of fact reasonably could find in [its]

favor.”     Santiago-Ramos v. Centennial P.R. Wireless Corp., 217

F.3d 46, 52 (1st Cir. 2000) (citation omitted).          Summary judgment

is    appropriate   if   the   nonmovant’s     case   rests   merely     upon

“conclusory allegations, improbable references, and unsupported

speculation.”     Forestier-Fradera v. Municipality of Mayagüez, 440

F.3d 17, 21 (1st Cir. 2006).

IV.   First Amendment Cause of Action

      The   plaintiffs   assert   that   the   Municipality   of   Arecibo,

Molina, and other municipal employees are liable for political

discrimination pursuant to 42 U.S.C. section 1983. (Docket No. 102
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at p. 15.)       Section 1983 establishes “a private right of action

for violations of federally protected rights.”              Marrero-Gutiérrez

v. Molina, 491 F.3d 1, 5 (1st Cir. 2007).            The Supreme Court has

held that section 1983 does not confer substantive rights, “but

provides     a    venue   for     vindicating   federal     rights   elsewhere

conferred.” Marrero-Sáez v. Municipality of Aibonito, 668 F. Supp.

2d 327, 332 (D.P.R. 2009) (citing Graham v. M.S. Connor, 490 U.S.

386, 393-94 (1989)). Section 1983 imposes civil liability on state

officials “acting under color of state law.” Elena v. Municipality

of San Juan, 677 F.3d 1, 10 (1st Cir. 2012).                Puerto Rico is a

state for the purpose of section 1983.               Id. (citing Deniz v.

Municipality of Guaynabo, 285 F.3d 142, 146 (1st Cir. 2002)).                A

municipality is a “person” pursuant to section 1983.

     A.    Political Discrimination

           The First Amendment right to freedom of speech and

association       provides   non-policymaking      public    employees     with

protection       from   adverse    employment   decisions    based   on   their

political affiliation.          Padilla-García v. Guillermo-Rodríguez, 212

F.3d 69, 74 (1st Cir. 2000); see also, Rutan v. Republican Party,
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497   U.S.   62,   75   (1990). 5   The   Mount    Healthy    burden-shifting

framework governs the Court’s analysis.            Mount Healthy City Sch.

Dist. Bd. Of Educ. v. Doyle, 429 U.S. 274, 287 (1977) (applying

the two-part burden shifting analysis to a free speech claim); see

also Padilla-García, 212 F.3d at 74.

             To establish a prima facie case pursuant to the First

Amendment, the plaintiff must demonstrate that (1) the plaintiff

and the defendant belong to opposing political affiliations; (2)

the defendant has knowledge of the plaintiff=s affiliation; (3) a

challenged     employment      action     occurred;     and   (4)     political

affiliation was a substantial or motivating factor behind the

challenged employment action.         Martin-Vélez v. Rey-Hernández, 506

F.3d 32, 39 (1st Cir. 2007) (citation omitted). 6                   A plaintiff



5 The protections enshrined in the First Amendment extend to the plaintiffs

irrespective of their former status as transitory employees. (Docket No. 102.)
The First Circuit Court of Appeals has held that a “municipality may not allow
transitory employees’ contracts to expire if the primary motive is to punish
them for their political affiliation.” Nieves-Villanueva v. Soto-Rivera, 133
F.3d 92, 98 (1997) (citing Chéveres-Pacheco v. Rivera-González, 809 F.2d 125,
127-29 (1st Cir. 1987)); see also, Borges-Colón v. Román-Abreu, 438 F.3d 1, 18
(1st Cir. 2006) (“The fact that a transitory employee does not have a reasonable
expectation of renewal in his or her employment does not defeat a First Amendment
claim”) (internal citation omitted).

6 The defendants do not dispute the first and third elements of the plaintiffs’

prima facie political discrimination claim. The Partido Nuevo Progresista and
the Partido Popular are opposing political parties in Puerto Rico.           See
Guillemard-Ginorio v. Conteras-Gómez, 585 F.3d 508, 511 (1st Cir. 2009). The
nonrenewal of a transitory employment contract constitutes an adverse employment
action. See Morales-Tañón v. P.R. Elec. Power Auth., 524 F.3d 15, 19 (1st Cir.
2008) (“Adverse employment action includes not only discharge and demotions,
but also a government entity’s refusal to promote, transfer, recall after
layoff, or even hire an employee.”) (citation and internal quotation marks
omitted).
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alleging political discrimination shoulders the threshold burden

of    producing     sufficient         evidence,         whether    direct       or

circumstantial,     that   he     or   she   engaged      in    constitutionally

protected conduct and that his or her political affiliation was a

substantial or motivating factor behind the challenged employment

action.    González-Blasini v. Family Dept., 377 F.3d 81, 85 (1st

Cir. 2004); Rodríguez-Ríos v. Cordero, 138 F.3d 22, 24 (1st Cir.

1998).    “The plaintiff must point to evidence on the record which,

if credited, would permit a rational fact-finder to conclude that

the   challenged   personnel      action     occurred     and   stemmed   from    a

politically based discriminatory animus.”                González-Blasini, 377

F.3d at 85 (quoting LaRou v. Ridlon, 98 F.3d 659, 661 (1st Cir.

1996) (quotation marks omitted).

            The   burden   then    shifts     to   the    defendant,   who   must

articulate a nondiscriminatory basis for the adverse employment

action and establish by a preponderance of the evidence that he or

she would have taken the same employment action regardless of the

plaintiff’s political affiliation.             Padilla-García, 212 F.3d at

74; Rodríguez-Ríos, 138 F.3d at 24.                The Mt. Healthy defense,

“ensures that a plaintiff-employee who would have been dismissed

in any event on legitimate grounds is not placed in a better

position merely by virtue of the exercise of a constitutional right

irrelevant to the adverse employment action.”                   Acevedo-Díaz v.
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Aponte, 1 F.3d 62, 66 (1st Cir. 1993) (citations omitted).                             The

evidence by which the plaintiff establishes a prima facie case may

suffice for a fact-finder to infer that the defendant’s proffered

nondiscriminatory ground for the adverse employment action is

pretextual, and “check” summary judgment.                          Padilla-García, 212

F.3d at 78.

              Evidence    of   a    highly-charged            political      environment

coupled with the parties’ competing political persuasions may

suffice to show discriminatory animus.                   Rodríguez-Ríos, 138 F.3d

at 24; see also Padilla-García, 212 F.3d at 75-76 (affirming denial

of summary judgment where the defendants knew of plaintiffs’ party

affiliation,      plaintiff        was    a     conspicuous         party    member   and

witnesses     testified    regarding          defendant’s      desire       to   humiliate

plaintiff).       Additionally, mere temporal proximity between an

adverse     employment    action     and       a     change   of    administration     is

insufficient to establish discriminatory animus.                            Acevedo-Díaz,

1 F.3d at 69.

     B.       Knowledge of Political Affiliation

              The predominant argument set forth in the defendants’

motion for summary judgment concerns the plaintiffs’ prima facie

claim    of   political    discrimination.               (Docket      No.    112.)     The

defendants     deny   either       that       they    knew    plaintiffs’        political

affiliation, or that political animus motivated their decision
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regarding    the   plaintiffs’     employment     contracts.       Id.      The

defendants maintain that the plaintiffs have “not established be

it with direct or circumstantial evidence that defendants knew

[the plaintiffs’] political affiliation, that the same was the

substantial or motivating factor in the non-renewal of [their]

transitory contract[s].” (Docket No. 112 at pp. 14—29.) The Court

disagrees.     A rational jury could find both that the defendants

knew of the plaintiffs’ political affiliation, and acted with

animus.

            At the time their employment with Arecibo ended, the

plaintiffs worked in one of three departments:             (1) the Municipal

Development Department, (2) the Housing Department, or (3) the

Yesterday’s Youth Center.       (Docket No. 112 at p. 3.)       Molina claims

that “[a]fter the filing of the Complaint, [he] was informed that

[the plaintiffs are] affiliated with the PPD.”              (Docket No. 111,

Ex. 30 at p. 6.) 7     According to the plaintiffs, however, Molina’s

subordinates prepared a list of employees affiliated with the PPD



7 Pursuant to Puerto Rico law, the actions of a mayor “constitut[e] the official

policy of the municipality.” Cordero v. De Jesús-Méndez, 867 F.2d 1, 7 (1st
Cir. 1989). Accordingly, a Puerto Rico municipality “is liable as a matter of
law for an unconstitutional discharge of its municipal employees by the Mayor.”
Id.; see Rivera-Torres v. Ortiz-Vélez, 341 F.3d 86, 103 (1st Cir. 2003)
(“Therefore, as the district court correctly realized, the liability of the
municipality could not be divorced from the mayor’s liability in his official
capacity.”); Concepción v. Municipality of Gurabo, 560 F. Supp. 2d 139, 142
(D.P.R. 2008) (Besosa, J.) (holding that “municipality liability attaches where
the decision-maker possesses final authority to establish municipal policy with
respect to the action ordered”).
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at the mayor’s request, the mayor frequently made disparaging

comments regarding the PPD, and the mayor refused to renew their

employment contracts because they affiliated with the PPD. (Docket

No. 126.)     The evidence below raises a genuine issue of material

fact as to whether the defendants knew of plaintiffs’ political

affiliation.

            1.     The Municipal Development Department

                   María Rivera-Román and Héctor Román-Ortiz worked

for the Municipal Development Department as a janitor and as an

inspector, respectively.       (Docket No. 111; Ex. 1 at p. 13l; Ex. 4

at p. 4.)     Defendant Luis Cruz-Nieves served as the director of

the Municipal Development Department.       (Docket No. 11, Ex. 25 at

pp. 5-6.)

                   a.   Plaintiff María Rivera-Román

                        The Municipality of Arecibo hired Rivera-Román

in the early 1980’s.     (Docket No. 111, Ex. 1 at p. 4.)     She claims

that “throughout [her] long tenure as a transitory employee in the

municipality of Arecibo, [her] political affiliation and support

for the [PPD] was well known by [her] co-workers and supervisors.”

(Docket No. 111 Ex. 3 at p. 11.)      Before Molina’s administration,

defendant Hiram Cruz-González served as director of the Municipal

Development      Department.    Id.    Rivera-Román    inquired   whether

Cruz-González stopped asking her to bring him coffee because she
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was member of the PPD.          Id.    Cruz-González answered:             “How do you

know about this?          Are you a mind reader?”        Id.

                    b.      Plaintiff Héctor Román-Ortiz

                            The Municipality of Arecibo hired Román-Ortiz

in 2000, first as an accountant and later as a housing inspector.

(Docket No. 111, Ex. 4 at p. 3.)                      According to Román-Ortiz,

Cruz-Nieves observed him participate in a [PPD] caravan during the

2012    mayoral     campaign.       (Docket     No.    111,    Ex.   4    at    p.   16.)

Román-Ortiz        claims    that     Molina    is     aware    of       Román-Ortiz’s

affiliation with the PPD because, Molina is “the head of Town Hall,

he   knows    all   the     supervisors   and    directors,      and      through    the

supervisors and directors, they know who is affiliated to what

party.”      (Docket No. 111, Ex. 4 at p. 20.)

              2.    The Housing Department

                    Emma Vélez-Serrano, Saúl Vélez-Rodríguez, Alicia

Velázquez-Vélez, Johanna Homs-Zeno, and Luis Ocaña-Rivera worked

in the Housing Department.            (Docket No. 111, Vélez-Serrano, Ex. 14

at p. 4; Vélez-Rodríguez, Ex. 9 at p. 4; Velázquez-Vélez, Ex. 6 at

p. 6; Homs, Ex. 16 at p. 3; Ocaña, Ex. 19 at p. 3.)                            Defendant

Wesley Rivera served as the Director of the Housing Department.

(Docket No. 111, Ex. 6 at p. 14.)
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                   a.     Plaintiff Emma Vélez-Serrano

                          The      Municipality          of     Arecibo           hired

Vélez-Serrano in 1985.          (Docket No. 111, Ex. 14 at p. 3.)             She is

a   member   of    PPD,   and    has   “always    been    in   [PPD]   campaigns,

committees, caravans,” worked as a polling officer, sold tickets,

and participated in walk-a-thons. (Docket No. 111, Ex. 14 at pp. 9

and 10.)       Vélez-Serrano      claims   that    during      the   2012    mayoral

election, Molina visited her at her house.               (Docket No. 126, Ex. 1

at p. 47.)        Molina allegedly told Vélez-Serrano “not to worry,

that [Molina] came to work for everyone and that [Vélez-Serrano]

should give him an opportunity to give him [her] vote.”                     Id.

                          Rivera, her immediate supervisor, allegedly

informed Vélez-Serrano that her employment “contract had not been

renewed because [Molina] did not want any ‘Populares’ there.                      And,

[Molina] told [Rivera] to make a list of the ‘Populares’ in the

office, and [Vélez-Serrano] was among them.”                   (Docket No. 111,

Ex. 14 at p. 18.)         Rivera allegedly qualified his statement to

Vélez-Serrano, however, stating that “[Rivera] did not agree with

this, [Rivera] tried to help [Vélez-Serrano], but when [Molina]

gets something inside his head, and when [Molina] said no, it was

no.”    Id. at p. 19.      Vélez-Serrano allegedly attempted to reason

with Rivera, emphasizing her almost thirty-year tenure as a public
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servant.    (Docket No. 111, Ex. 14 at p. 19.)         According to Vélez-

Serrano, Rivera allegedly remained silent.         Id.

                       In     July   2014,    Rivera     purportedly     told

Vélez-Serrano that he “went to fight for [Housing Department

employees] to get a salary increase,” but that instead Molina “sent

[Rivera] five new employees to our office.             [Molina] said those

five employees came to take away jobs and that [Vélez-Serrano]

should be careful.”         (Docket No. 126, Ex. 1 at p 48.)           Rivera

allegedly told Vélez-Serrano that he refrained from offering to

sell her tickets to PNP political events because Rivera knew

Vélez-Serrano would not purchase the tickets.             (Docket No. 126,

Ex. 1 at p. 48.)       Furthermore, Rivera allegedly requested that

Vélez-Serrano and other Housing Department employees distribute

newspapers     to   publicize   Molina’s     accomplishments.      (Docket

No. 126, Ex. 1 at p. 48.)       Vélez-Serrano allegedly replied, “[i]f

people see me there handing out a newspaper of Carlos Molina,

knowing I am a [PPD]’er, they’ll run me over with their cars.”

Id.   After Vélez-Serrano learned that her employment contract was

not renewed, Rivera allegedly told her and other former Housing

Department employees that Molina “wanted to know who were the

[PPD’ers] in our office, and that he had to do it [not renew their

contracts].”    Id. at p. 49.
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                 b.     Plaintiff Saúl Vélez-Rodríguez

                        The         Municipality        of       Arecibo         hired

Vélez-Rodríguez in 1985 as a technician.                (Docket No. 111, Ex. 9

at p. 3.)      He participated in PPD organized events, such as

caravans and parties.        (Docket No. 111, Ex. 9 at p. 11.)                 He also

purchased PPD raffle tickets and visited the PPD committee center.

Id.

                        Vélez-Rodríguez claims that defendant Rivera

knew that he affiliated with the PPD, because “in the office,

everybody knows who, practically who belongs to what party.”

(Docket No. 111, Ex. 9 at p. 13.)               According to Vélez-Rodríguez,

Rivera     informed     him         that    “[Rivera]         did      not     invite

[Vélez-Rodríguez]        to           political         activities             because

[Vélez-Rodríguez] was a ‘Popular.’”               (Docket No. 111, Ex. 9 at

p. 14.)       Vélez-Rodríguez         asserts      that       Rivera    said      that

Vélez-Rodríguez and Ocaña were “[PPD]’s but were good people.”

(Docket No. 126, Ex. 1 at p. 42.)                   On July 7, 2014, Rivera

purportedly    stated   to     Vélez-Rodríguez         that    “[Molina]       was   an

asshole and that without any reason he had refused to validate the

signed    contracts.”         Id.    at    p.    43.      On    July     15,     2014,

Vélez-Rodríguez met with Rivera outside of City Hall.                   Id.     Rivera

allegedly told Vélez-Rodríguez that “the one who didn’t renew [his]

contract was [Molina] and not him, and that [Molina] had asked
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[Rivera] to identify who from the office was a [PPD]’er and he had

to    tell   him    who    were    the    ones    who   belonged   to   the   Popular

Democratic Party and that [Vélez-Rodríguez] was in the group.”

Id.

                    c.      Plaintiff Alicia Velázquez-Vélez

                            The Municipality of Arecibo hired Velázquez-

Vélez in 1993.        (Docket No. 111, Ex. 6 at p. 4.)               After Molina’s

electoral victory, defendant Rivera allegedly directed Velázquez-

Vélez “to identify employees who were ‘Populares’, and at that

moment [Rivera] told [her] that there were five employees in the

office who were going to be left without employment and that

[Velázquez-Vélez] was one of those employees.”                     (Docket No. 111,

Ex. 6 at p. 28.)          Rivera allegedly identified Homs, Vélez-Serrano,

Vélez-Rodríguez,          and     Ocaña   as     “those   employees”    subject   to

nonrenewal.        (Docket No. 126, Ex. 1 at p. 30.)               Velázquez-Vélez,

however, concedes that she never saw the list, or that she was

present when Rivera allegedly identified members of the PPD to

Molina.      (Docket No. 111, Ex. 6 at p. 19.)

                            Velázquez-Vélez claims that during business

hours Rivera requested that Housing Department employees purchase

tickets to political events.               (Docket No. 126, Ex. 1 at p. 30.)

Velázquez-Vélez asserts that in 2014, she and Vélez-Serrano spoke

with Rivera outside of City Hall.                   (Docket No. 126 at p. 30.)
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Rivera allegedly informed Velázquez-Vélez and Vélez-Serrano that

“he had been asked to identify the [PPD]’s in our office, that he

had to follow orders.”          Id.   Velázquez-Vélez also asserts that

Rivera told her that “not voting is the same as being against Mayor

Molina.”    (Docket No. 126, Ex. 1 at p. 30.)

                        After     Velázquez-Vélez’s       employment     with

Arecibo ended, she claims that she visited Rivera at his office to

deliver a letter from her and other former employees.                (Docket

No. 126, Ex. 1 at p. 30.)       The letter challenged the nonrenewal of

their employment contracts, alleging that the municipality based

its employment decision on the plaintiffs’ political affiliations.

Id.   Velázquez-Vélez asserts that Rivera asked her whether she was

recording him.    Id.   She answered no.     Id.   Rivera then purportedly

informed Velázquez-Vélez that he “believed the whole situation was

pointless because [Velázquez-Vélez] had been his secretary, had

read his e-mails, and [Velázquez-Vélez] was aware that there was

enough   money   in   the   program   to   pay   [the   former   employees].”

(Docket No. 126, Ex. 1 at p. 30.)

                 d.     Plaintiff Johanna Homs-Zeno

                        The Municipality of Arecibo hired Homs in 2001

as an investigator, and later as a technician.             (Docket No. 111,

Ex. 16 at p. 5.)      On several occasions, Rivera allegedly told Homs

that “[PPD’ers] are sons of bitches and are not going to heaven
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and that [PNP’ers], however, had won heaven.”           (Docket No. 126,

Ex. 1 at p. 54.)       According to Homs, Rivera requested that she

retire to “leave the position open for an unemployed [PNP’er].”

Id.   Rivera purportedly told Homs that “[PPD’ers] are not worth a

thing,” and that “[PPD’ers] should be set on fire.”         Id. at p. 55.

In 2014, Rivera allegedly told Homs that if she wanted to continue

working, Homs “had to give [her] vote to [Molina].”           Id.     Rivera

also allegedly told Homs the “sons of bitches of the Mayor and

Memo didn’t want [their] contracts to be renewed.           That [Rivera]

was doing all he could to keep [them] there.”         Id.

                  e.   Plaintiff Luis Ocaña-Rivera

                       The Municipality of Arecibo hired Ocaña in

1999 as a housing inspector.        (Docket No. 111, Ex. 19 at p. 3.)

Rivera allegedly told Ocaña, “[y]ou are good people although you

are [PPD’ers].”     (Docket No. 126, Ex. 1 at p. 36.)        According to

Ocaña, Rivera instructed municipal employees to paint bridges and

hand out newspapers promoting Molina’s accomplishments.             Id.   The

employees refused to do so.         Id.    Rivera allegedly warned the

employees not to “complain if you are left jobless.           You are not

taking care of your job.”     Id.   Ocaña alleges that on July 7, 2014,

Rivera said that he disagreed with Molina’s decision, that Molina
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was “un cabrón,” 8 “who did not want [PPD’ers] working at the office,

and that [Ocaña] should get someone to help [him].”              Id.      A week

later, Rivera stated that he would attempt to convince Molina to

renew Ocaña’s contract on the condition that Ocaña inform Molina

that he “was willing to be punished in some way for having signed

the letter sent to [the human resources department] from all

plaintiffs, and that would be the way for the Mayor to renew [his]

contract.”    Id.

           3.       Yesterday’s Youth Center

                    Julissa   Marrero,   Santos   Tobi-Molina,      and    Edwin

Denis-Mercado worked at the Yesterday’s Youth Center.                  (Docket

No. 111, Marrero, Ex. 23 at p. 4; Tobi, Ex. 11 at p. 3; Denis,

Ex. 21 at pp. 3—4.)           Defendants Hiram Cruz-González and Janet

Rodríguez-Colón served as the co-directors of the Yesterday’s

Youth Center in 2014.         (Docket No. 111, Ex. 11 at p. 6.)

                    a.    Plaintiff Julissa Marrero-Román

                          The Municipality of Arecibo hired Marrero as

a secretary for the Yesterday’s Youth Center.              (Docket No. 111,

Ex. 23 at p. 4.)         Marrero claims that Cruz-González observed her

participate in a PPD caravan.        Id. at p. 18.   The next day, Marrero

alleges that Cruz-González said, “I saw you.”                 Id.      Marrero



8 “Cabrón” may be translated as asshole in this context.   Gerald v. Univ. of
P.R., 707 F.3d 7, 22 (1st Cir. 2013).
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allegedly   answered,    “of   course,   I’m    a   member   of   the   Popular

Democratic Party and you know it.”        Id.

                  b.    Plaintiff Santos Tobi-Molina

                        The Municipality of Arecibo hired Tobi as a

driver for the Yesterday’s Youth Center in 2005.             (Docket No. 111,

Ex. 11 at p. 3.)       Although Molina and Tobi never discussed their

political views, Tobi claims that Molina observed him in a PPD

“sound    truck    doing    promotion     or     promoting,       campaigning,

advertising.”     (Docket No. 111, Ex. 11 at p. 14.)               During the

primaries, Molina allegedly visited Tobi’s house, provided Tobi

with a brochure, and said “[t]hank you, even though I know we are

in different parties, thank you for having received me.”                (Docket

No. 111, Ex. 11 at p. 15.)      According to Tobi, Rivera once stated

that “[he] wanted to see what us ‘populetes’ [sic] would do once

Carlos Molina won the elections.”              (Docket No. 126, Ex. 1 at

p. 20.)   Tobi and Denis spoke with Pérez after learning that their

contracts were not renewed.        Id. at p. 21.        In response, Pérez

allegedly asked Tobi and Denis if they were “[PPD’ers],” and

confided in Tobi and Denis that “he was not supposed to be telling

[them] that but that we should go talk to Janet and she had to

tell [them] why.”      (Docket No. 126, Ex. 1 at p. 21.)
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                 c.     Plaintiff Edwin Denis-Mercado

                        The Municipality of Arecibo hired Denis as a

driver for the Yesterday’s Youth Center in 2000.        (Docket No. 111,

Ex. 21 at p. 5.)      Denis served as a ward leader for the PPD, worked

at the polling stations, sold PPD raffle tickets, and participated

in caravans.     (Docket No. 111, Ex. 21 at p. 14.)         According to

Denis, Molina knew he was affiliated with the PPD because Denis

“would go by in a caravan and [Molina] would see us, and he would

go by the committee and [Molina] would see us.”         Id. at p. 21.

     C.    A Genuine Issue of Material Fact Exists Regarding
           Knowledge of the Plaintiff’s Political Affiliation

           Construing the entire record in the light most favorable

to   the plaintiffs and drawing all reasonable inferences their

favor, see Farmers Ins. Exch. v. RNK, Inc., 632 F.3d 777, 779-80

(1st Cir. 2011), the Court concludes that that material issues of

fact preclude defendants= motion for summary judgment.          While the

defendants deny any knowledge that the plaintiffs affiliated with

the PPD, the plaintiffs aver that the defendants compiled a list

of political opponents with the intent to purge Arecibo’s civil

service of PPD affiliated employees.

           The   Court     need   not   reconcile   these   contradictory

renditions.      “Credibility determinations, the weighing of the

evidence, and the drawing of legitimate inferences from the facts
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are jury functions, not those of a judge.”         Lareños En Defensa Del

Patrimonio Historico, Inc. v. Municipality of Lares, 957 F. Supp.

2d 150, 157 (D.P.R. 2013) (Besosa, J.) (denying defendants’ motion

for summary judgment because the parties presented contradictory

reasons for imposing restrictions on use of a public plaza) (citing

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)); see

Simas v. First Citizens= Fed. Credit Union, 170 F.3d 37, 49 (1st

Cir. 1999) (“credibility determinations are for the factfinder at

trial, not for the court at summary judgment”).

             The evidence presented by the plaintiffs suggesting that

the defendants’ knew their political affiliation and acted with

political animus “is such that a reasonably jury could resolve the

point in favor of the non-moving party,” and “has the potential of

determining the outcome of this litigation.”         Dunn v. Trs. of Bos.

Univ., 761 F.3d 63, 68 (1st Cir. 2014) (internal citation omitted).

Actions arising pursuant to the First Amendment hardly ever set

forth clear, unequivocal evidence of political animus. See Ocasio-

Hernández v. Fortuño-Burset, 777 F.3d 1, 7 (1st Cir. 2015) (holding

that    political   discrimination     “often   turns   on   an   employer’s

cloaked motives, [and] can be hard for a worker to prove”).

Plaintiffs in political discrimination actions often must rely on

circumstantial evidence.      See Martínez-Vélez v. Rey-Hernández, 506

F.3d 32, 44 (1st Cir. 2007) (holding that a reasonable jury could
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infer that the defendant was aware of the plaintiff’s affiliation

with the [PNP] based on evidence that the plaintiff “spoke openly

about her political views and sat in the [PNP] portion of the de

facto   segregated      cafeteria”). 9      Indeed,     maintaining      lists   of

political    adversaries     is    powerful    circumstantial       evidence     of

political knowledge and animus.            See Álvarez-Estrada v. Alemañy-

Noriega, No. 2011 U.S. Dist. LEXIS 61240 (D.P.R. June 8, 2011)

(Besosa, J.) (denying motion for summary judgment in a political

discrimination action, because allegations that defendant “ordered

lists to be compiled of all personnel affiliated with the [PNP]”

created a genuine issue of material fact).

            For   the    purpose   of    summary      judgment,    the   Court   is

satisfied    that   the    plaintiffs     have     asserted    “specific    facts

necessary    to   take    the   asserted      claim    out    of   the   realm   of

speculative, general allegations.”            González de Balsini v. Family

Dep’t., 377 F.3d 81, 86 (1st Cir. 2004).                Accordingly, there is

sufficient evidence to create a triable issue as to whether the




9 See also Caraballo-Rivera v. García-Padilla, No. 14-1435, 2017 U.S. Dist.
LEXIS 165529 *19 (D.P.R. Oct. 3, 2017) (Domínguez, J.) (denying motion for
summary judgment in political discrimination action because, competing accounts
regarding a meeting where defendant “disclosed plans to get rid of all [PNP]
supporters at La Fortaleza” created a genuine issue of material fact); Santos-
Berríos v. Joglar-Pesquera, No. 14-1145, 2016 U.S. Dist. LEXIS 14431 *2 (D.P.R.
Feb. 5, 2016) (Delgado-Hernández, J.) (denying motion for summary judgment in
a political discrimination action where the defendants prepared and distributed
a list identifying plaintiffs’ political affiliations and the plaintiffs’
contracts were not renewed.)
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plaintiffs       may    establish         a    prima      facie    claim    of     political

discrimination.

             The defendants, for their part, have failed to set forth

a    nondiscriminatory         reason         for   the    nonrenewal      of    plaintiff’s

transitory contracts.           The defendants state in a conclusory manner

that    budget    reductions         and       poor    performance      motivated      their

employment decisions. (Docket No. 112 at p. 31.) These assertions

are    deficient       pursuant      to       Mt.   Healthy     because     they    fail   to

“establish by a preponderance of the evidence that they would have

taken the same action regardless of the [person’s] political

affiliation.”      Padilla-García, 212 F.3d at 77.

             Because         there   are       genuine     issues    of     material    fact

regarding the defendants’ knowledge of the plaintiffs’ political

affiliations, and the defendants’ motivations in not renewing the

plaintiffs’ contracts, the defendants’ motion for summary judgment

is DENIED.

V.     Qualified Immunity

       The   defendants         argue      that       Molina,     Rivera,       Cruz-Nieves,

Cruz-González,         and    Rodríguez-Colón             are   entitled     to    qualified

immunity because the plaintiffs “failed to establish the violation

of a constitutional right.”                (Docket No. 112 at p. 38.)              Qualified

immunity provides “a safe harbor for public officials acting under

the color of state law who would otherwise be liable under [section
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1983]     for    infringing         the   constitutional      rights    of    private

parties.”       Whitfield v. Meléndez-Rivera, 431 F.3d 1, 6 (1st Cir.

2005).       The doctrine “protects government officers and employees

from     suit    on       federal    claims    for   damages     where,       in   the

circumstances,        a    reasonable     official   could    have     believed    his

conduct was lawful.”           Olmeda v. Ortíz-Quiñónez, 434 F.3d 62, 65

(1st Cir. 2006).

       The    qualified      immunity      inquiry   is   a   two-part       analysis.

Maldonado v. Fontanes, 568 F.3d 263, 268-69 (1st Cir. 2009).

First, courts examine “whether the facts alleged or shown by the

plaintiff make out a violation of a constitutional right.”                         Id.

at 269.       Second, courts inquire “whether the right was ‘clearly

established’ at the time of the defendant=s alleged violation.”

Id.    The second part of the qualified immunity analysis is divided

into two sub-inquiries:

       (a) whether the legal contours of the right in question
       were sufficiently clear that a reasonable official would
       have understood that what he was doing violated that
       right, and (b) whether the particular factual violation
       in question would have been clear to a reasonable
       official.

Díaz-Bigio v. Santini, 652 F.3d 45, 50 (1st Cir. 2011).

       Because a genuine issue of material fact exits regarding “a

violation of a constitutional right,” the Court need not address

the defendants’ qualified immunity argument.                  Maldonado, 568 F.3d
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at 268-69 (1st Cir. 2009).            The jury must determine whether the

defendants are eligible for qualified immunity.                  Accordingly, the

defendants’ request to invoke the qualified immunity defense is

DENIED WIHTOUT PREJUDICE.

VI.   Plaintiffs’ Puerto Rico Constitutional Claims

      The     defendants      move   to    dismiss     the   plaintiffs’      claims

pursuant      to    the   Puerto   Rico   Constitution.         According     to    the

defendants, the plaintiffs “have failed to prove both a prima facie

case of political discrimination and an adverse employment action

attributable to any of the Defendants.” (Docket No. 112 at p. 33.)

The Puerto Rico Supreme Court has incorporated the Mt. Healthy

analysis      for    political     discrimination      claims    pursuant     to    the

Puerto    Rico      Constitution.         Ortiz-Rodríguez       v.   Del   Noroeste,

No. 14-1529, 2016 U.S. Dist. LEXIS 43740 *36 (D.P.R. Mar. 26, 2016)

(Gelpí,     J.)     (citing   Camacho-Torres      v.    AAFET,       168   D.P.R.    66

(2006)). 10        Because the plaintiffs’ First Amendment claims are

sufficient pursuant to the Mt. Healthy analysis, their political

discrimination claims pursuant to the Puerto Rico Constitution are

also sufficient.




10The United States Constitution and the Puerto Rico Constitution “essentially
protect the same type of conduct, with the Puerto Rico Constitution protecting
a broader spectrum of speech.”      Watchtower Bible Tract Soc’y of N.Y. v.
Municipality of Santa Isabel, No. 04-1452, 2013 U.S. Dist. LEXIS 65706 *9
(D.P.R. May 6, 2013) (Gelpí, J.) (citation omitted).
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VII. Plaintiffs’ Puerto Rico Civil Code Claims

      A.    Article 1802

            The defendants assert that the plaintiffs’ Article 1802

claim fails because “a reasonable jury could conclude that damages

[if any] asserted by Plaintiffs were not a result of any negligent

or culpable employment action by Defendants.”            (Docket No. 112 at

p. 34.)    Article 1802 provides for a cause of action resulting

from an individual’s negligent act. Isla Nena Air Servs. V. Cessna

Aircraft Co., 449 F.3d 85, 88 (1st. Cir. 2006) (citing P.R. Laws

Ann. tit. 31, § 5141). 11      To prevail on a Puerto Rico negligence

claim, plaintiffs must establish three elements:             (1) an injury,

(2) a breach of duty, and (3) proximate causation of the injury.

Vázquez-Filippetti v. Banco Popular de P.R., 504 F.3d 43, 49 (1st

Cir. 2007) (internal citations omitted).            The plaintiffs cannot

“mention a possible argument in the most skeletal way, leaving the

Court to do counsel’s work, create the ossature for the argument,

and put flesh on its bones.”       U.S. v. Zannino, 895 F.2d 1, 17 (1st

Cir. 1990).       Accordingly, the defendants’ motion for summary

judgment regarding the plaintiffs’ Article 1802 claims is DENIED.




11 Article 1802 states that “[a] person who by an act or omission causes damage

to another through fault or negligence shall be obliged to repair the damage so
done.” P.R. Laws Ann. tit. 31, § 5141.
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      B.    Article 1803

            The defendants argue that the plaintiffs are precluded

from seeking relief pursuant to Article 1803.            (Docket No. 112 at

p. 35.)    Article 1803 applies the doctrine of vicarious liability

to actions pursuant to article 1802.             P.R. Laws Ann. tit. 31,

§ 5142.     “Article 1803 provides an exhaustive list of special

circumstances in which a party, such as an employer, may be

vicariously liable for the torts committed by another person.”

Fernández-Jorge v. Galarza-Soto, 124 F. Supp. 3d 57, 71 (D.P.R.

2015) (Gelpí, J.) (dismissing claim pursuant to article 1803

because the “[p]laintiffs fail to plead such a special relationship

that would allow for vicarious liability”).             The most applicable

basis of vicarious liability set forth in article 1803 provides

that:

      Owners or directors of an establishment or enterprise
      [who] are likewise liable for any damages caused by their
      employees in the service of the branches in which the
      later are employed or on account of their duties.

P.R. Laws Ann. tit. 31, § 5142. 12            The municipality is not an

establishment or enterprise within meaning of article 1803.                 See


12Pursuant to article 1803, (1) parents are liable for the minor children living
with them; (2) guardians are liable for the minors or incapacitated persons who
are under their authority and live with them; (3) owners or directors of an
establishment or enterprise are liable for their employees in the service of
the branches in which the latter are employed or on account of their duties;
(4) masters or directors of arts and trades are liable for their pupils or
apprentices while under their custody; and (5) the Commonwealth of Puerto Rico
is vicariously liable under the same circumstances and conditions as those under
which a private citizen would be liable. P.R. Laws Ann. tit. 31, § 5142.
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Santos-Berríos v. Joglar-Pesquera, No. 14-1145, 2016 U.S. Dist.

LEXIS   14431   *11   (D.P.R.   Feb.   5,   2016)   (dismissing    vicarious

liability claim against the Puerto Rico Department of Health

because “[a] purview of the instances numbered in [article 1803]

confirms they are beyond the scope of defendants’ profile”). 13

Accordingly, the plaintiffs’ claim pursuant to article 1803 is

DISMISSED.

VII. Conclusion

      For the reasons set forth above, the defendants’ motion for

summary judgment is DENIED IN PART and GRANTED IN PART.              (Docket

Nos. 111 and 112.)      The claims asserted against defendant Edgardo

Pérez-Pérez are DISMISSED WITH PREJUDICE.            Id.   The plaintiffs’

claims arising pursuant to article 1803 of the Puerto Rico Civil

Code are DISMISSED WITH PREJUDICE.           The defendants’ request to

invoke the qualified immunity defense is DENIED WIHTOUT PREJUDICE.

Ángel M. Oquendo-Maldonado’s motion to dismiss his claims against

the defendants is GRANTED, and his claims against the defendants

are DIMISSED WITH PREJUDICE.        (Docket No. 50.)

      Partial Judgment shall be entered accordingly.

      Trial remains set for September 4, 2018 at 9:00 a.m.




13Indeed, the plaintiffs fail to address the defendants’ article 1803 argument
in their opposition to summary judgment. (Docket No. 125 at p. 10.)
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     No later than September 3, 2018 at 12:00 noon, even though

the date is a holiday, the parties will file a joint proposed

pretrial order.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, August 29, 2018.


                                      s/ Francisco A. Besosa
                                      FRANCISCO A. BESOSA
                                      UNITED STATES DISTRICT JUDGE
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